         Case 1:20-cv-00335-PAE-SLC Document 29 Filed 10/19/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CEDRIC BISHOP,

                                Plaintiff,

         against
                                                       CIVIL ACTION NO.: 20 Civ. 335 (PAE) (SLC)
BATTERY BBQ LLC,
                                                                         ORDER
                                Defendant.


SARAH L. CAVE, United States Magistrate Judge.


         The parties were ordered to file by October 15, 2020 a joint letter stating whether they

would like a Settlement Conference with the Court (“Joint Letter”). (ECF No. 28). The parties did

not comply. By Thursday, October 22, 2020, the parties shall submit the Joint Letter.



Dated:             New York, New York
                   October 19, 2020

                                                    SO ORDERED



                                                    _________________________
                                                    SARAH L. CAVE
                                                    United States Magistrate Judge
